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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


WESTFIELD INSURANCE COMPANY,

            Plaintiff,

     v.                                            CIVIL NO. 1:22-CV-45
                                                          (KLEEH)
R&D TRUCKING OF MORGANTOWN,
INC., PHOENIX ENERGY RESOURCES,
LLC, PHOENIX FEDERAL NO. 2 MINING,
LLC, and ERP, LLC,

            Defendants.


                             DISMISSAL ORDER

     On this day, Plaintiff filed a notice of voluntary dismissal

under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

For the reasons stated therein, this action is DISMISSED WITHOUT

PREJUDICE   and   STRICKEN   from the Court’s active docket.            All

deadlines and pending motions are hereby TERMINATED.

     The Clerk is DIRECTED to transmit copies of this order to

counsel of record and any unrepresented parties.

     DATE: August 8, 2022



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                                  THOMAS S. KLEEH, CHIEF JUDGE
                                  NORTHERN DISTRICT OF WEST VIRGINIA
